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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,
                                                        File No. 1:04-CR-165
v.
                                                        HON. ROBERT HOLMES BELL
DONALD MAYNARD BUFFIN,

              Defendant.
                                            /

              MEMO RANDUM O PINION AND ORDER

        This matter is before the Court on Defendant Donald Maynard Buffin’s “Amicus

Curiae Petition Pro Bono Publico” (Docket #289). It appears that Defendant is challenging

the Government’s motion for revocation of bond (Docket #272). At a hearing before the

Magistrate Judge on April 29, 2005, the Government’s motion was denied without prejudice.

To the extent that Defendant’s petition contests the Government’s motion it is now moot.

        Defendant also appears to challenge the bond upon which he is released. This

challenge is without merit. The Magistrate Judge continued Defendant’s release on bond

pending trial pursuant to 18 U.S.C. § 3142. Defendant has failed to allege any violation of

federal law and appears to assert arguments with existing federal law. Accordingly,

        IT IS HEREBY ORDERED that Defendant’s “Amicus Curiae Petition Pro Bono

Publico” (Docket #289) is DENIED.




Date:       May 9, 2005                   /s/ Robert Holmes Bell
                                          ROBERT HOLM ES BELL
                                          CHIEF UNITED STATES DISTRICT JUDGE
